Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 1 of 32 Page ID #:1



 1   Jessica N. Walker (State Bar No. 275398)
     jwalker@nixonpeabody.com
 2   NIXON PEABODY LLP
     300 South Grand Avenue, Suite 4100
 3   Los Angeles, CA 90071
     Tel: (213) 629-6000
 4   Fax (855) 780-9262
 5   Jonathan Sablone
     jsablone@nixonpeabody.com
 6   Kacey Houston Walker
     kwalker@nixonpeabody.com
 7   NIXON PEABODY LLP
     100 Summer Street
 8   Boston, MA 02110-2131
     Tel: (617) 345-1342
 9   Fax: (866) 947-1729
     Pro Hac Vice Applications Forthcoming
10
     Attorneys for Plaintiff Ninespot, Inc.
11
12
                          UNITED STATES DISTRICT COURT
13
             CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
14
15
     NINESPOT, INC.,                            Case No. 8:17-cv-01719
16
                               Plaintiff,       COMPLAINT FOR BREACH OF
17                                              CONTRACT; BREACH OF THE
                vs.                             IMPLIED COVENANT OF GOOD
18                                              FAITH AND FAIR DEALING;
     JUPAI HOLDINGS LIMITED, PUJI               INTENTIONAL INTERFERENCE
19   MEDIA HOLDINGS LIMITED                     WITH CONTRACTUAL
     普及传媒控股有限公司, and PUJI                       RELATIONS; INTENTIONAL
20   JUPAI ASSET MANAGEMENT,                    INTERFERENCE WITH
                                                PROSPECTIVE ECONOMIC
21                             Defendants.      RELATIONS; BREACH OF
                                                FIDUCIARY DUTY;
22                                              INTENTIONAL
                                                MISREPRESENTATION; AND
23                                              VIOLATION OF THE
                                                DELAWARE DECEPTIVE
24                                              TRADE PRACTICES ACT, AND
                                                DEMAND FOR JURY TRIAL
25
26
27
28
                                                                           COMPLAINT
                                                                 CASE NO. 8:17-CV-01719
     4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 2 of 32 Page ID #:2



 1                                             COMPLAINT
 2              Pursuant to the Federal Rules of Civil Procedure, Plaintiff Ninespot, Inc.,
 3   hereby alleges as follows:
 4                                          INTRODUCTION
 5              1.      Plaintiff Ninespot, Inc. (“Ninespot” or the “Company”) brings this
 6   action against Defendants Jupai Holdings Limited (“Jupai”), Puji Media Holdings
 7   Limited 普及传媒控股有限公司 (“Puji”), and Puji Jupai Asset Management (“Puji
 8   Jupai”) to recover for their breaches and misconduct in connection with a promised
 9   investment by Jupai into Ninespot. This Court has jurisdiction over this dispute
10   pursuant to 28 U.S.C. § 1332.
11              2.      Ninespot, backed by several high-profile investors and strategic
12   partners, was preparing to launch its promising live-video platform in the U.S. and
13   Asia when it entered into contractual relationships with each of the Defendants.
14              3.      Those contractual relationships each related to a promised $18 million1
15   investment that Jupai was to make in Ninespot in exchange for certain shares of the
16   Company.
17              4.      After months of negotiations, delays, and assurances that the promised
18   investment was forthcoming, each of the Defendants breached not only its
19   contractual obligations to Ninespot but also the covenant of good faith and fair
20   dealing implied in those agreements by law, as described herein.
21              5.      Defendant Puji—a trusted business collaborator with Ninespot—went
22   even further, breaching its fiduciary duty by repeatedly deceiving Ninespot,
23   undermining Ninespot’s interests, and intentionally interfering with Ninespot’s
24   relationship with a prospective acquisition target by spreading lies about the
25   Company’s status.
26
27   1
           All references to dollars in this Complaint refer to United States dollars unless otherwise
           stated.
28
                                                                                             COMPLAINT
                                                      -2-                          CASE NO. 8:17-CV-01719

     4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 3 of 32 Page ID #:3



 1              6.      Moreover, the Defendants repeatedly misrepresented to Ninespot that
 2   the money to fund the promised investment had been raised and could be
 3   transferred to Ninespot. But when Jupai evidently decided not to invest in Ninespot
 4   after all, the Defendants changed their story, claiming instead that Chinese
 5   government restrictions on outbound investments prevented them from upholding
 6   their bargains. Upon information and belief, however, these excuses were just an
 7   artifice concocted to avoid the Defendants’ contractual obligations.
 8              7.      Ninespot relied on the Defendants’ representations to its detriment by
 9   waiting through repeated delays, biding its time to launch its product in an ever-
10   more-crowded market, foregoing critical personnel hires, not seeking other
11   investments, and giving concessions intended to address Defendants’ feigned
12   concerns about outbound-capital restrictions. Ultimately, Defendants strung
13   Ninespot along for so long that Ninespot missed its opportunity to successfully
14   launch its product and saw its business essentially destroyed by Defendants’ deceit.
15                                              PARTIES
16              8.      Ninespot is a Delaware corporation with its principal place of business
17   in Mission Viejo, California.
18              9.      Jupai is a limited liability company incorporated under the laws of the
19   Cayman Islands, with its principal place of business in Shanghai, China.
20              10.     Puji is a British Virgin Islands limited company with its principal place
21   of business in Hong Kong.
22              11.     Puji Jupai is a Cayman Islands corporation with its principal place of
23   business in Hong Kong.
24                                          JURISDICTION
25              12.     This Court has subject-matter jurisdiction over this dispute pursuant to
26   28 U.S.C. § 1332 because the matter in controversy exceeds $75,000.00 in value,
27   exclusive of interest and costs, and there is complete diversity of citizenship
28
                                                                                      COMPLAINT
                                                   -3-                      CASE NO. 8:17-CV-01719

     4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 4 of 32 Page ID #:4



 1   between Plaintiff Ninespot and Defendants Jupai, Puji, and Puji Jupai (together,
 2   “Defendants”).
 3              13.     Each of the Defendants has purposely availed itself of the laws of
 4   California by negotiating and contracting with a California-based entity; agreeing to
 5   purchase securities from a California-based entity; expressly aiming fraudulent
 6   conduct at a California-based entity; breaching duties owed to a California-based
 7   entity; making misstatements and misrepresentations to a California-based entity
 8   within California; and/or conducting business within California.
 9              14.     Exercise of personal jurisdiction over each of the Defendants is proper
10   under California Code of Civil Procedure § 410.10, made applicable by Federal
11   Rule of Civil Procedure 4(k)(1).
12                                               VENUE
13              15.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Central District of
14   California because a substantial part of the events or omissions giving rise to the
15   claims occurred within this District, and because the Defendants are not resident in
16   the United States.
17                                   FACTUAL ALLEGATIONS
18                                Ninespot and its Live-Video Platform
19              16.     Ninespot is the creator of a livestream and online video platform (the
20   “Platform”) that connects celebrity content creators to their audiences and allows
21   those content creators to execute multiple business models next to their own
22   content.
23              17.     Ninespot is supported by a formidable roster of strategic investors and
24   partners, including the world’s largest global digital ad agency, Publicis.Sapient; a
25   top talent-management company; Draper Triangle Ventures (Draper Venture
26   Network); and several prominent high-net-worth individuals.
27       Puji Contracts with Ninespot to Help Ninespot Launch its Platform in China
28
                                                                                      COMPLAINT
                                                   -4-                      CASE NO. 8:17-CV-01719

     4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 5 of 32 Page ID #:5



 1              18.     On or about April 27, 2015, Ninespot’s Chief Executive Officer and
 2   Chairman, Brian Costello, met with Gordon Chu, Vice President at Puji, in
 3   Publicis.Sapient’s office in Santa Monica, California, to discuss the possibility of a
 4   collaboration between Ninespot and Puji.
 5              19.     Over the next several months, Mr. Chu and Mr. Costello stayed in
 6   touch and exchanged information about their respective companies. After Ninespot
 7   completed a Series A investment and established an exciting partnership with a top
 8   talent-management firm, Mr. Costello and Mr. Chu agreed to meet again on or
 9   about November 18, 2015.
10              20.     At their November 18, 2015 meeting, Mr. Costello and Mr. Chu again
11   discussed the prospect of collaborating to assist Ninespot in entering the Asian
12   market with its Platform and raising a Series B round of funding. Mr. Chu
13   indicated that Puji worked with a number of Asian tycoons and that he thought
14   several of them would be interested in investing in Ninespot. He also conveyed
15   that he was particularly impressed by the prominent partnerships that Ninespot had
16   established and thought that its partners’ prestigious backgrounds and associations
17   would be received favorably by Asian investors.
18              21.     In December 2015 and January 2016, Mr. Costello shared information
19   about Ninespot with Mr. Chu and gave him access to electronic files that included
20   detailed Company information.
21              22.     Mr. Chu suggested that Mr. Costello meet with the Chairman and
22   principal owner of Puji, Andrew Hall. He described Mr. Hall as a prominent Asian
23   businessman who was well-connected to tycoon families in Asia, as well as to key
24   U.S. executives, and who founded Puji to create investment opportunities for those
25   families.
26              23.     On or about January 11, 2016, Mr. Costello met with Mr. Hall and Mr.
27   Chu in Century City, Los Angeles, California, to further discuss the collaboration
28
                                                                                   COMPLAINT
                                                  -5-                    CASE NO. 8:17-CV-01719

     4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 6 of 32 Page ID #:6



 1   between Ninespot and Puji, including the prospect of Puji helping Ninespot to
 2   establish strategic partnerships in Asia similar to the ones that Ninespot had already
 3   established in the U.S.
 4              24.       Thereafter, between the end of January and May 2016, Ninespot and
 5   Puji commenced a collaborative relationship while negotiating the terms by which
 6   Puji would help Ninespot to launch the Platform, establish strategic relationships in
 7   Asia, and secure investment capital.
 8              25.       On or about March 16, 2016, Mr. Costello sent Mr. Chu a first draft of
 9   a Business Collaboration Agreement (“BCA”) between Ninespot and Puji, which
10   was later executed on or about May 31, 2016. A true and correct copy of the BCA
11   is attached hereto as Exhibit A.
12              26.       Pursuant to the BCA, Puji agreed to collaborate with Ninespot to adapt
13   the Platform for use in the Chinese market and to advise and assist Ninespot in its
14   efforts to expand the Platform into China, among other things, in exchange for
15   certain equity compensation from Ninespot as set forth in the BCA.
16                      Puji’s Affiliate and Jupai Launch a Joint Venture to Invest in
                                       Companies in China and the U.S.
17
18              27.       On or about April 25, 2016, Puji Capital, a Puji affiliate, announced
19   the launch of a new joint venture with Jupai, a Chinese wealth-management firm
20   traded on the New York Stock Exchange. The joint venture was to be focused on
21   strategic investments in high-growth sector companies in Greater China and the
22   United States.
23              28.       The Puji Capital/Jupai joint venture also announced that its first
24   strategic investment was into Wanda Pictures, the film arm of Chinese
25   multinational conglomerate Dalian Wanda Group (“Wanda”). In a press release
26   announcing the Wanda investment, Mr. Zhu Junjie, co-president of Jupai, described
27   the joint venture as a “cornerstone” in Jupai’s commitment to providing its clients
28
                                                                                         COMPLAINT
                                                      -6-                      CASE NO. 8:17-CV-01719

     4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 7 of 32 Page ID #:7



 1   with domestic and global investment opportunities and stated that it was “only the
 2   start of more global investments.”
 3              29.     On or about April 25, 2016, Mr. Chu forwarded Mr. Costello a Variety
 4   article describing the Wanda Pictures transaction. Mr. Chu informed Mr. Costello
 5   that Puji Capital had a longstanding relationship with the Wanda Group and had
 6   facilitated the joint venture’s investment. According to Mr. Chu, Jupai’s high-net-
 7   worth clients and some of Puji’s other relationships accounted for $500 million of
 8   the $2.4 billion Wanda Pictures placement. Mr. Chu also represented to Mr.
 9   Costello that Puji would be doing many more deals with Jupai going forward, and
10   in fact had several other deals pending.
11     Ninespot and Jupai, Through Puji, Negotiate Jupai’s Investment Into Ninespot
12              30.     In June 2016, Mr. Chu told Mr. Costello that a number of Puji’s
13   business partners were interested in establishing a relationship with and investing in
14   Ninespot. In particular, Mr. Chu said, Jupai was especially interested in investing
15   in the Company.
16              31.     According to Mr. Chu, Puji’s Mr. Hall had a close relationship with
17   Jupai’s then-Chief Executive Officer and Co-Chairman of the Board, Tianxiang Hu.
18   Mr. Chu also explained that Puji had a burgeoning influence over Jupai in light of
19   the joint venture and earlier Wanda Pictures investment, and thus it was well-
20   positioned to facilitate an investment from Jupai into Ninespot.
21              32.     Mr. Chu counseled Mr. Costello that to receive an investment from
22   Jupai, Ninespot would need to engage a reputable U.S. investor and the deal would
23   need to be approved by Jupai’s internal investment committee. Mr. Chu told Mr.
24   Costello that Mr. Hu, Chair of Jupai’s Board, would personally support navigating
25   the deal through the Jupai investment committee for approval to distribute to
26   Jupai’s clients.
27
28
                                                                                    COMPLAINT
                                                  -7-                     CASE NO. 8:17-CV-01719

     4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 8 of 32 Page ID #:8



 1              33.     According to Mr. Chu, Jupai would present the opportunity to invest in
 2   Ninespot to its clients along with a $150 million placement for the Wanda Group’s
 3   offline-to-online (“O2O”) or Internet finance business (the “Wanda Deal”). Mr.
 4   Chu explained to Mr. Costello in June 2016 that Jupai was raising money for the
 5   two investments in tandem and that the Ninespot portion of the funds would be
 6   raised in non-RMB dollars.
 7              34.     As an example of Jupai’s capacity to invest in U.S.–based companies,
 8   Mr. Chu e-mailed Mr. Costello a copy of the prospectus for U.S. film company
 9   Mandalay Endurance Media Ventures (“MEMV”) on or about June 17, 2016. Mr.
10   Chu indicated that Jupai had committed to invest $10 million into MEMV despite
11   the challenges of funding U.S. film companies out of China. Mr. Chu presented the
12   MEMV deal to Mr. Costello as proof that Jupai would have no trouble funding the
13   Ninespot Series B investment, and periodically updated Mr. Costello on Jupai’s
14   progress in meeting its funding commitments to MEMV. Puji Capital later
15   announced the launch of Puji Films and its first investment into MEMV on or about
16   August 17, 2017.
17              35.     Acting in reliance on Mr. Chu’s representations on behalf of Puji and
18   Jupai, Ninespot satisfied Jupai’s requirement that Ninespot secure a U.S. investor
19   by obtaining a commitment from Draper Triangle Ventures (“Draper”)—an existing
20   investor in Ninespot—to invest $2 million into Ninespot’s Series B financing along
21   with Jupai’s $18 million investment. Ninespot sent Mr. Chu the executed Draper
22   term sheet, Draper commitment cover letter, and a Ninespot pro-forma
23   capitalization table on or about June 20, 2016.
24              36.     During the summer of 2016, Ninespot and Jupai, through Puji,
25   continued to negotiate the terms of, and prepare documents in connection with,
26   Jupai’s planned investment in Ninespot (the “Investment”).
27
28
                                                                                     COMPLAINT
                                                   -8-                     CASE NO. 8:17-CV-01719

     4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 9 of 32 Page ID #:9



 1              37.     In July 2016, Mr. Chu drafted a Memorandum of Understanding for
 2   Jupai in both English and Chinese to present to Jupai’s internal investment
 3   committee. Mr. Chu also prepared the placement documents highlighting
 4   Ninespot’s prominent partners, which documents were to be circulated to Jupai’s
 5   high-net-worth clients along with the Wanda Deal placement materials.
 6              38.     Also in the summer of 2016, Jupai, through Puji, directed inquiries to
 7   Ninespot regarding the Company’s valuation and other issues related to the
 8   Investments, to which Ninespot responded fully.
 9              39.     On or about July 25, 2016, Mr. Chu sent Mr. Costello Puji’s thorough
10   valuation analysis of Ninespot, which was added to the PujiCapital Ninespot
11   investment summary and translated to Chinese for submission to the Jupai
12   investment committee and circulation to Jupai’s high-net-worth clients.
13              40.     Puji and Jupai ultimately determined that Ninespot was undervalued at
14   a valuation of $80 million. Puji and Jupai presented that valuation not only to the
15   Jupai investment committee but also to their own private clients.
16              41.     On or about September 28, 2016, Mr. Chu sent Mr. Costello a draft
17   term sheet setting forth the terms by which Jupai would fund the Investment in
18   Ninespot (the “Term Sheet”). Consistent with the parties’ previous discussions, the
19   Term Sheet identified Jupai as the investing entity.
20              42.     Preparations for the Investment continued in September and October
21   2016. Mr. Chu informed Ninespot during that time that Jupai’s internal investment
22   committee had approved the Investment, but that the deal was delayed while Jupai
23   negotiated one remaining term related to the Wanda Deal.
24              43.     On or about September 26, 2016, Mr. Chu informed Mr. Costello by
25   text message that the Wanda Deal was the “main issue” accounting for the delay
26   and that Jupai could close its deal with Ninespot within two or three weeks were it
27   not for the ongoing negotiations concerning the Wanda Deal term.
28
                                                                                     COMPLAINT
                                                   -9-                     CASE NO. 8:17-CV-01719

     4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 10 of 32 Page ID #:10



  1              44.     On or about September 29, 2016, Mr. Costello of Ninespot met with
  2   two representatives of Puji and Jupai in Century City, Los Angeles to discuss the
  3   Investment. Puji was represented at the meeting by Mr. Chu and Mr. Hall, and
  4   Jupai was represented by product manager Denis Wang and another Jupai
  5   employee.
  6              45.     Despite his earlier representation that the Ninespot Investment was
  7   only held up because of the Wanda Deal, Mr. Chu informed Mr. Costello on or
  8   about October 5, 2016, that the parties intended to get the deal done by the end of
  9   the year.
 10              46.     Mr. Chu sent Mr. Costello an e-mail update on the status of the Jupai
 11   Investment on or about October 28, 2016. Mr. Chu indicated that Jupai had
 12   “assured” Mr. Hall that Jupai wanted to proceed with the Investment and would
 13   make it “a priority.” Mr. Chu also stated that Jupai had been on the road that week
 14   to “raise the mother fund of capital for the Wanda project (which includes the
 15   investment into Ninespot).”
 16              47.     Mr. Chu repeatedly assured Mr. Costello by text message on October
 17   10, October 13, October 24, and again on October 27, 2017, that the terms of the
 18   Wanda Deal were being or had been resolved and that Jupai’s Investment in
 19   Ninespot would proceed.
 20                      Puji Interferes with Ninespot’s Relationship with OurCam
 21              48.     Meanwhile, during precisely the same time period that Puji was
 22   assuring Ninespot that the planned Investment by Jupai would move forward, its
 23   Chairman, Mr. Hall, made contrary representations to Jeffrey Ng, the Chief
 24   Executive Officer of a potential Ninespot acquisition target and strategic partner,
 25   OurCam, whom Puji had previously introduced to Mr. Costello.
 26              49.     Following their initial meeting in Hong Kong, Mr. Costello and Mr.
 27   Ng conducted several telephone calls, entered into a non-disclosure agreement, and
 28
                                                                                      COMPLAINT
                                                   - 10 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 11 of 32 Page ID #:11



  1   exchanged information concerning a potential acquisition of OurCam by Ninespot,
  2   or an investment by Ninespot into OurCam, once Ninespot closed its Series B
  3   funding round.
  4              50.     On or about October 15, 2016, however, Mr. Hall told Mr. Ng by
  5   WeChat voice message that Jupai’s deal with Ninespot was progressing slowly, that
  6   Ninespot no longer planned to launch the Platform in China, and that OurCam
  7   should “give up” on its contemplated business arrangement with Ninespot.
  8              51.     Puji’s representations to Mr. Ng directly contradicted the
  9   representations that it had made and was making to Ninespot at the time, and
 10   undermined Ninespot’s business interests.
 11              52.     Upon information and belief, Puji’s interference in Ninespot’s
 12   relationship with OurCam was a substantial factor in Ninespot’s failure to
 13   consummate an acquisition of or investment in OurCam.
 14              Jupai and Ninespot Execute the Term Sheet and the Parties Prepare
                                Long-Form Investment Documents
 15
 16              53.     The Investment finally seemed to be moving ahead in November 2016,
 17   when Ninepot learned that the deal had formally been approved by Jupai’s
 18   investment committee and received the executed Term Sheet from Puji, which
 19   Jupai had stamped.
 20              54.     Ninespot understood the stamped Term Sheet to represent a firm
 21   commitment from Jupai to fund the full $18 million Investment. Indeed, Ninespot
 22   had already completed extensive diligence requested by both Puji and Jupai, and
 23   had been told by Puji that Jupai had already raised all of the required capital for the
 24   Investment from its high-net-worth clients in connection with the Wanda Deal.
 25              55.     In the days that followed, however, Puji informed Ninespot of a further
 26   condition for closing the deal with Jupai: the allocation of additional shares of
 27   Ninespot to Puji and Jupai in exchange for their foregoing fees on the Wanda Deal.
 28
                                                                                       COMPLAINT
                                                   - 11 -                    CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 12 of 32 Page ID #:12



  1   Mr. Chu told Mr. Costello that Wanda was paying a 15% one-time annual dividend
  2   on the Wanda Deal, guaranteed at the corporate level. Mr. Chu communicated that
  3   Wanda and Jupai were splitting fees on the deal and that Mr. Hall of Puji and Mr.
  4   Hu of Jupai were willing to forego some of those fees in return for Jupai’s clients
  5   also investing in Ninespot.
  6              56.     Ninespot thus agreed to structure this additional equity into the deal
  7   and was later told that the shares should be assigned to Probanca Advisory Limited
  8   (“Probanca”), a British Virgin Islands corporation, to be allocated to Puji and Jupai.
  9   This arrangement was memorialized in a Business Collaboration Agreement
 10   between Ninespot and Probanca that was ultimately attached to the long-form
 11   Investment documents but never executed by the parties.
 12              57.     Mr. Chu sent Mr. Costello a draft of a long-form term sheet on or
 13   about December 1, 2016, which he had prepared to assist Jupai personnel in
 14   understanding the terms of the Ninespot Investment. Puji also translated the long-
 15   form term sheet into Chinese for Jupai.
 16              58.     On or about December 5, 2016, Mr. Costello sent Mr. Chu drafts of all
 17   Series B documents, including a Stock Purchase Agreement memorializing the
 18   terms of the Investment and certain other documentation related to the deal with
 19   Jupai. Those documents had already been approved by Ninespot’s board and other
 20   investors, and by Draper’s counsel; all that was needed to close the deal was
 21   approval from Jupai.
 22              59.     Over the ensuing weeks, Ninespot continued to work with Puji to
 23   finalize the long-form documents and prepare to close the deal with Jupai prior to
 24   December 31, 2016. During this time, Puji continued to represent that Jupai—
 25   through a designated entity—would fund the entire $18 million Investment once the
 26   long-form documents were finalized and approved and the deal closed.
 27
 28
                                                                                        COMPLAINT
                                                    - 12 -                    CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 13 of 32 Page ID #:13



  1              60.     On or about December 8, 2016, and again on or about December 16,
  2   2016, Mr. Chu emphasized to Mr. Costello that Jupai wanted to ensure that would
  3   be able to transfer its Ninespot Investment between entities if it was able to find a
  4   more efficient tax structure for the Investment.
  5              61.     Mr. Chu related to Mr. Costello via text message on or about
  6   December 20, 2016, that the long-form documents were acceptable to Puji, and that
  7   the only remaining issue was for Jupai to designate the entity through which it
  8   would fulfill the $18 million Investment and appoint a director.
  9              62.     On or about December 21, 2016, Puji Capital announced an
 10   investment into U.S.–based gaming company aXiomatic. aXiomatic later disclosed
 11   in a 2017 SEC Form D that the investment referenced in Puji’s press release was
 12   for $16.5 million. aXiomatic has the same principal owners as the MEMV
 13   investment that Mr. Chu had cited in June 2016 as an example of Jupai’s ability to
 14   fund a $10 million investment. Puji Director Alex Szeto was quoted in the
 15   aXiomatic release saying that “Puji Capital will continue to invest and act as that
 16   ‘bridge’ between China and Hollywood for all facets of media and entertainment.”
 17              63.     Despite efforts to facilitate a year-end closing, Mr. Chu did not inform
 18   Ninespot until January 6, 2017 that Jupai’s designated investing entity would be
 19   Shanghai Jupeng Asset Management, Co., Ltd., located in Shanghai, and its
 20   director would be Jupai executive Denis Wang.
 21              64.     But still the deal seemed to stall. On or about January 25, 2017, Mr.
 22   Chu e-mailed Mr. Costello with an update on the transaction, including five
 23   questions that Jupai had raised and which Puji had “already addressed with Jupai’s
 24   legal team.” Mr. Chu’s January 25, 2017 e-mail also showed that Oreans Yuan,
 25   Puji’s Chief Financial Officer, had sent the deal documents for signature to
 26   Jinchang (Augusto) Wang, an attorney at Jupai, on January 12, 2017.
 27
 28
                                                                                       COMPLAINT
                                                    - 13 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 14 of 32 Page ID #:14



  1              65.     In response to Mr. Costello’s concerns about the repeated delays in
  2   closing the deal, Mr. Chu assured him in the January 25, 2017 e-mail that there was
  3   “no indication of any issues or problems” with Jupai executing the documents and
  4   finalizing the terms of the Investment. Although Mr. Chu anticipated a further
  5   delay on account of the forthcoming Chinese New Year holiday, he indicated that
  6   there was no cause for concern because the deal was “still under [Jupai’s] normal
  7   timing and process.”
  8       Puji’s and Jupai’s Repeated Delays in the Closing the Investment Deal Limit
             Ninespot’s Business Operations and Worry its Investors and Partners
  9
                 66.     By early February 2017, however, Jupai still had not executed the
 10
      long-form documents and Ninespot was becoming anxious about the status of the
 11
      Investment. Ninespot was primed to launch its Platform but was hamstrung by the
 12
      repeated delays in closing the deal and its need for investment capital. Its investors
 13
      and partners were growing concerned.
 14
                 67.     On or about February 9, 2017—nearly a month and a half after
 15
      Ninespot had expected the deal to close at the end of 2016—Mr. Chu e-mailed Mr.
 16
      Costello a new list of due-diligence requests from Jupai. The requests listed
 17
      Jinchang Wang and Tianxiang Hu of Jupai as the main contacts on the transaction.
 18
      Despite his concerns about the delay, Mr. Costello worked with Mr. Chu and
 19
      Kimberly Zheng at Puji to respond to Jupai’s latest due-diligence requests and
 20
      provided all required documents to Puji on or about February 13, 2017.
 21
                 68.     By mid-February 2017, Mr. Costello and Ninespot’s investors and
 22
      partners had become increasingly nervous that Ninespot might squander its
 23
      opportunity to launch the Platform while waiting for the promised Investment from
 24
      Jupai. Mr. Costello thus again sought assurance from Mr. Chu that Jupai had raised
 25
      the funds for the Investment and would be able to transfer them to Ninespot, as the
 26
      parties had agreed.
 27
 28
                                                                                      COMPLAINT
                                                   - 14 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 15 of 32 Page ID #:15



  1              69.     In an e-mail dated on or about February 17, 2017, Mr. Chu again
  2   represented that Jupai had raised money for its Investment in Ninespot alongside its
  3   fundraising efforts to fund the Wanda Deal.
  4              70.     According to Mr. Chu, funds raised for both the Ninespot Investment
  5   and the Wanda Deal had been placed in a master special-purpose vehicle held by
  6   Jupai. Mr. Chu stated in his February 17, 2017 e-mail that the funds for Ninespot
  7   would have to be moved into a separate special-purpose vehicle and a separate bank
  8   account so that the funds could be repatriated to U.S. Dollars. Although Mr. Chu
  9   repeatedly acknowledged to Mr. Costello the logistical challenges of funding the
 10   Investment, he never indicated that such challenges might prove insurmountable or
 11   otherwise jeopardize the Investment.
 12              71.     In fact, on or about February 19, 2017, Mr. Chu stated in an e-mail to
 13   Mr. Costello that restrictions on outbound foreign investments by the State
 14   Administration of Foreign Exchange (“SAFE”) rendered such investments
 15   “problematic” but “not impossible.”
 16              72.     Mr. Chu’s February 19, 2017 e-mail further represented that Jupai
 17   would wait until there was a “a clear path for the [I]nvestment” before executing
 18   the long-form documents.
 19              73.     Mr. Chu encouraged Mr. Costello to “feel free to forward” his
 20   February 19, 2017 e-mail to Ninespot’s “shareholders / partners for their reference”
 21   to communicate the status of the Investment.
 22              74.     Ninespot again acted in reliance on Puji’s representations and
 23   assurances that the Investment would be forthcoming and continued to bide its time
 24   to launch the Platform and hold off on hiring essential personnel to support its
 25   operations.
 26      Ninespot Accommodates Jupai’s Purported Concern About Outbound Capital
                   Restrictions by Agreeing to Restructure the Investment
 27
 28
                                                                                      COMPLAINT
                                                   - 15 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 16 of 32 Page ID #:16



  1              75.     As the weeks wore on, Mr. Costello decided to seek assurance directly
  2   from Jupai and not through Puji that Jupai intended to fund the Investment, so that
  3   Ninespot would not be waiting in vain at a pivotal moment in the Company’s
  4   growth.
  5              76.     Thus, on or about March 3, 2017, Mr. Costello shared with Mr. Chu a
  6   draft communication to Jupai in which Mr. Costello emphasized that Ninespot’s
  7   opportunity to successfully launch its product was on hold awaiting Jupai’s
  8   Investment and sought confirmation of his understanding that the monies for the
  9   Investment had in fact been raised in parallel with the Wanda Deal. Mr. Costello’s
 10   draft also specifically inquired of Jupai whether the Investment was being delayed
 11   due to concerns about restrictions imposed by the Chinese government on the flow
 12   of outbound capital.
 13              77.     Mr. Chu proposed revisions to Mr. Costello’s draft later that day and
 14   advised him: “A definite no on mentioning the Wanda O2O or assum[ing] you
 15   know their reasons of getting monies out of China.” Mr. Chu thus cautioned Mr.
 16   Costello against revealing to Jupai the very information that Mr. Chu and Puji had
 17   repeatedly conveyed about the status of the Investment.
 18              78.     Mr. Costello and Mr. Chu ultimately agreed on a version of the e-mail
 19   to be sent directly to Jupai, which version Mr. Chu translated and transmitted.
 20   Jupai’s attorney, Jinchang Wang, responded to Mr. Costello by e-mail on March 14,
 21   2017, copying Zhu Junjie, Denis Wang, and Mr. Chu. Mr. Wang stated that Jupai
 22   was “preparing [its] RMB currency investment fund” but that “the one gating issue
 23   is figuring the most efficient and effective way to get the investment out of China to
 24   the US.” Accordingly, Mr. Wang represented that Jupai would “structur[e] the flow
 25   of RMB funds through Puji and Puji will set up domestic and overseas structure[s]
 26   to realize the capital outflow and complete [Jupai’s] investment in Ninespot.”
 27
 28
                                                                                      COMPLAINT
                                                   - 16 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 17 of 32 Page ID #:17



  1              79.     Mr. Wang’s e-mail further proposed a payment schedule by which
  2   Jupai would fund the Investment over the course of eleven months.
  3              80.     Mr. Costello again worked with Mr. Chu on a response to Jupai’s
  4   request to modify the Investment documents to reflect the proposed tranches. In the
  5   course of crafting a response, Mr. Chu stated in an e-mail to Mr. Costello dated
  6   March 14, 2017 that the shares allocated to Probanca should be issued on a pro-rata
  7   basis as Jupai funded the Investment. Mr. Chu also indicated to Mr. Costello that
  8   the details of the share allocation would be discussed between Mr. Hall of Puji and
  9   Mr. Hu of Jupai, but should “not necessarily . . . be discussed below” with lower-
 10   level Jupai employees working on the Investment deal.
 11              81.     To accommodate Jupai’s purported concerns about capital outflow,
 12   Ninespot agreed on or about March 15, 2017 to structure the Investment in
 13   tranches.
 14              82.     But Mr. Costello emphasized the importance of receiving an initial
 15   investment tranche to meet Ninespot’s capital needs associated with the Platform
 16   launch and to avoid impeding the operations of the Company, and requested that
 17   Jupai make its best efforts to fund the full $18 million investment over a nine-
 18   month horizon “so that it will not drastically change how we operate the business[,]
 19   especially in the first year.”
 20              83.     Ninespot and Jupai thus agreed that Jupai would fund an initial tranche
 21   of $1.5 million upon the execution of the long-form deal documents, and the
 22   balance of the Investment in accordance with an agreed-upon funding schedule.
 23              84.     Ninespot and Jupai specifically agreed to fix the first tranche of the
 24   Investment at $1.5 million with the understanding that Jupai would be able to fund
 25   that amount notwithstanding any restrictions on outbound foreign investments.
 26
 27
 28
                                                                                        COMPLAINT
                                                    - 17 -                    CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 18 of 32 Page ID #:18



  1              85.     Indeed, Puji represented to Ninespot that Jupai had made arrangements
  2   to transfer similar amounts in order to fund other of its investments in entities based
  3   in the United States.
  4     The Stock Purchase Agreement is Finally Executed, but Immediately Breached
  5              86.     After months of delays, Puji and Jupai were finally ready to proceed
  6   with the Investment in April 2017.
  7              87.     On or about April 5, 2017, Mr. Costello met with Mr. Chu and Mr.
  8   Hall of Puji in Century City, Los Angeles, to discuss finalizing the Investment. Mr.
  9   Chu and Mr. Hall told Mr. Costello that Ninespot could expect to receive the
 10   executed deal documents soon and that Mr. Hall was working with Jupai to increase
 11   the initial investment tranche to as much as $5 million because they realized that
 12   the inflow of capital was crucial for Ninespot’s business.
 13              88.     In preparation for closing, Jupai, through Mr. Yuan and Mr. Chu,
 14   designated Puji Jupai as the entity through which it would fund the Investment.
 15              89.     On or about April 10, 2017, however, Jupai, through Puji, requested
 16   one final change to the parties’ stock purchase agreement: the insertion of a clause
 17   disclaiming liability if Jupai was unable to purchase the full amount of its total
 18   share commitment within the prescribed twelve-month period.
 19              90.     According to Mr. Chu, Jupai requested the clause “to cover their asses
 20   if [the Chinese] government for foreign exchange gets more strict”—in other
 21   words, to protect Jupai in the event that future restrictions on the flow of outbound
 22   capital delayed the timeframe for funding the Investment.
 23              91.     Ninespot, anxious to finalize the deal and finally advance its business,
 24   agreed to this concession with the understanding that this clause would have no
 25   impact on the funding of the first tranche of the Investment.
 26              92.     Ninespot and Jupai’s designated offshore entity, Puji Jupai, thus
 27   executed the Ninespot, Inc. Series B Preferred Stock Purchase Agreement (“SPA”)
 28
                                                                                       COMPLAINT
                                                    - 18 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 19 of 32 Page ID #:19



  1   on or about April 17, 2017. A true and correct copy of the SPA is attached hereto
  2   as Exhibit B.
  3              93.     The SPA set forth the terms of the Investment, including the number of
  4   shares to be sold by Ninespot and purchased by each of Puji Jupai and Draper for
  5   their total investments of $18 million and $2 million, respectively.
  6              94.     The SPA also specifically provided for payment by Puji Jupai of the
  7   first $1.5 million tranche of the Investment on the date of the “Initial Closing”,
  8   which the SPA defines as the date of “the physical or electronic exchange among
  9   the parties and their counsel of all documents and deliverables required under this
 10   Agreement.”
 11              95.     At the same time, Ninespot and Puji Jupai executed a Side Letter
 12   Agreement that set forth the timing and value of the tranches by which Jupai,
 13   through Puji Jupai, had agreed to fund the Investment. A true and correct copy of
 14   the Side Letter Agreement is attached hereto as Exhibit C.
 15              96.     Pursuant to the Side Letter Agreement, “Jupai and its Affiliates” were
 16   to use their “best efforts to ensure that” the first $1.5 million tranche of the
 17   Investment was funded in April 2017, and the subsequent four tranches were to be
 18   funded in four equal payments by January 2018.
 19              97.     With the SPA executed and the tranches agreed upon via the Side
 20   Letter Agreement, Ninespot waited for the first tranche of the Investment to be
 21   funded as promised upon the Initial Closing. But the first tranche of funding never
 22   came; in fact, no portion of the Investment did.
 23              98.     Instead, on or about May 13, 2017, Mr. Chu stated in an e-mail to Mr.
 24   Costello that “Jupai’s first attempt at wiring money via SAFE was rejected at the
 25   bank,” and that “Jupai [was] not hopeful for the SAFE route to get monies out” of
 26   China. Mr. Chu represented that both Puji and Jupai were exploring other options
 27   for funding the Investment.
 28
                                                                                      COMPLAINT
                                                   - 19 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 20 of 32 Page ID #:20



  1              99.     Upon information and belief, however, Jupai never attempted to wire
  2   any portion of its promised Investment to Ninespot.
  3              100. Mr. Costello requested a status update from Mr. Chu on behalf of one
  4   of Ninespot’s investors on or about June 2, 2017. He received no response.
  5              101. Days later, on or about June 5, 2017, Mr. Costello met with Mr. Chu
  6   and Mr. Hall in Los Angeles to discuss the status of the Investment. Instead of
  7   focusing on facilitating Jupai’s promised Investment through Puji Jupai, however,
  8   Mr. Chu and Mr. Hall sought to persuade Mr. Costello that another investment
  9   group might invest in Ninespot instead.
 10              102. The meeting with Mr. Chu and Mr. Hall did little to ease Mr.
 11   Costello’s concerns that Jupai’s Investment was in jeopardy. Mr. Costello inquired
 12   again about the status of the Investment on or about June 8, 2017, but did not
 13   receive adequate assurances that the first tranche of the Investment was
 14   immediately forthcoming. Mr. Costello’s e-mail inquiry also requested
 15   documentation from Puji that Jupai had in fact attempted to transfer the first tranche
 16   of the Investment funds, documentation related to how Ninespot investors’ and
 17   partners’ names were used to raise funds, and proof that the funds remained intact.
 18   Mr. Costello received no response.
 19              103. Ninespot recognized the importance of capitalizing on a dynamic
 20   market for live-video platforms but knew that it needed the agreed-upon Investment
 21   to launch its product. Thus, in a final effort to progress the Investment, Mr.
 22   Costello sent Mr. Chu and Mr. Hall a draft of a demand letter addressed to Puji
 23   Jupai as the contracting party under the SPA on or about June 13, 2017.
 24              104. Mr. Chu and Mr. Hall contacted Mr. Costello later that day via
 25   telephone to further discuss the demand letter. Mr. Hall advised Mr. Costello to
 26   address the demand letter directly to Jupai as the entity that was in fact funding the
 27   Investment, and encouraged Ninespot to include in the letter language related to
 28
                                                                                    COMPLAINT
                                                  - 20 -                  CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 21 of 32 Page ID #:21



  1   possible regulatory consequences, which Mr. Hall thought would get Jupai’s
  2   attention.
  3              105. On or about June 14, 2017, Ninespot, through its counsel, sent the
  4   demand letter to Jupai seeking assurance that Jupai had attempted in good faith to
  5   fund the first tranche of the Investment and that the funds earmarked for the
  6   Investment remained available. A true and correct copy of the June 14, 2017 letter
  7   is attached as Exhibit D.
  8              106. Also on or about June 14, 2017, Mr. Costello sent an e-mail to Mr.
  9   Hall and Mr. Chu to inform them that Ninespot considered Jupai’s failure to fulfill
 10   its Investment obligations to be a serious matter and believed that the circumstances
 11   of such nonperformance were suggestive of unfair and deceptive business practices.
 12              107. Ninespot received a response to its demand letter to Jupai on or about
 13   June 26, 2018. The response came from Mr. Yuan of Puji, who claimed to be
 14   responding in his capacity as Director of Puji Jupai to the letter Ninespot had
 15   addressed to Jupai, and was also sent to Messrs. Hall and Chu of Puji and to
 16   Augusto Wang, Denis Wang, and Zhu Junjie of Jupai, among others. A true and
 17   correct copy of Mr. Yuan’s June 26, 2018 communication is attached as Exhibit E.
 18              108. Mr. Yuan’s response, purportedly on behalf of Puji Jupai, contained a
 19   number of baffling statements and outright misrepresentations, including but not
 20   limited to the following:
 21                      a. After more than a year of negotiating with Puji and Jupai to
 22                         coordinate Jupai’s promised investment in Ninespot and the express
 23                         understanding that Puji Jupai was intended merely as a vehicle to
 24                         facilitate the flow of outbound capital from Jupai to Ninespot, Mr.
 25                         Yuan denied that Jupai had any contractual obligation to Ninespot
 26                         and ordered that “[a]ll future communications should be directed to
 27                         Puji Jupai only.”
 28
                                                                                      COMPLAINT
                                                   - 21 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 22 of 32 Page ID #:22



  1                      b. Despite the fact that Mr. Chu, on behalf of Puji and Jupai, had
  2                         expressly represented to Ninespot that Jupai had raised investment
  3                         capital in Ninespot’s name, and notwithstanding the multiple
  4                         documents that had been prepared for the purpose of Jupai raising
  5                         capital for the Ninespot Investment, Mr. Yuan categorically denied
  6                         that Jupai or Puji Jupai had ever done so.
  7                      c. Mr. Yuan claimed that the Chinese government’s restrictions on
  8                         outbound capital investments were tightened in December 2016,
  9                         after the execution of the Term Sheet in November 2016, and thus
 10                         “constitute an unforeseeable and uncontrollable event of force
 11                         majeure”—apparently ignoring that the SPA was executed later, in
 12                         April 2017.
 13                      d. Mr. Yuan conspicuously did not claim that Jupai or Puji Jupai had
 14                         in fact attempted to fund the first tranche of the Investment, as Mr.
 15                         Chu had previously represented in May 2017, but instead protested
 16                         that Puji Jupai had attempted various “mitigation efforts” to
 17                         “attempt to deliver the investment through other means.”
 18                         According to Mr. Yuan, these efforts had “either concluded to a
 19                         non-viable solution to overcome [the alleged] force majeure event
 20                         and/or does not satisfy corporate compliance and/or [are] in current
 21                         on-going conversations.” Mr. Yuan did not describe or offer proof
 22                         of these alleged “mitigation efforts.”
 23              109. Mr. Yuan concluded by stating that “[i]n light of the nature and tone”
 24   of Ninespot’s letter, among other things, “it is our decision that Puji Jupai Asset
 25   Management will cease any and all further efforts for investment into Ninespot and
 26   confirm termination of the [SPA].”
 27
 28
                                                                                        COMPLAINT
                                                    - 22 -                    CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 23 of 32 Page ID #:23



  1              110. Mr. Yuan closed his letter with a bizarre threat: “We demand that
  2   Ninespot immediately cease and desist from any further investment demands and/or
  3   requests as well as all any [sic] irrational behavior against Puji Jupai, Jupai and
  4   their shareholders.”
  5                 Puji and Jupai Misrepresented Jupai’s Ability and Willingness to
                                         Fund the Investment
  6
  7              111. Upon information and belief, Puji and Jupai’s misrepresentations to
  8   Ninespot about Jupai’s ability and willingness to fund the Investment were intended
  9   to deceive Ninespot and obscure their unfair business practices.
 10              112. As set forth herein, Puji and Jupai both represented, among other
 11   things, that Jupai had raised the monies necessary to fund its promised Investment
 12   into Ninespot and that Chinese restrictions on outbound investments were the only
 13   impediment to funding the Investment.
 14              113. At their urging, however, Ninespot had agreed to structure the
 15   Investment in tranches to address that very issue—a concession that compromised
 16   Ninespot’s need for capital at a critical stage of the Company’s growth in order to
 17   allay Puji and Jupai’s feigned concerns.
 18              114. Moreover, upon information and belief, Jupai has worked with Puji
 19   and/or its affiliates to fund at least two significant investments in U.S.–based
 20   companies during exactly the same time period that it has represented to Ninespot
 21   that it was unable to transfer investment monies out of China.
 22              115. Further upon information and belief, Jupai diverted monies that it had
 23   raised for its Investment into Ninespot to fund these or other investments—all while
 24   representing to Ninespot that such monies remained available for the Investment
 25   into Ninespot.
 26
 27
 28
                                                                                    COMPLAINT
                                                 - 23 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 24 of 32 Page ID #:24



  1              116. Indeed, upon information and belief, the alleged restrictions on
  2   outbound investments have had little impact on Jupai’s business and did not thwart
  3   the Ninespot Investment.
  4              117. In addition to funding other outbound investments while breaching its
  5   promise and making misrepresentations to Ninespot, Jupai also engaged in other
  6   significant activities in or focused on the United States during the same time period,
  7   including establishing real estate leases and staffing offices in the U.S. for its
  8   affiliates, paying a substantial dividend to shareholders in the U.S., and making
  9   representations on quarterly earnings calls and in interviews with the media about
 10   Jupai’s expansion plans into the U.S., including setting up global overseas funds.
 11                           Defendants’ Breaches and Wrongful Conduct Have
                                      Devastated Ninespot’s Business
 12
 13              118. The breaches, misrepresentations, and bad faith of the Defendants
 14   described herein have effectively destroyed Ninespot’s business.
 15              119. As a direct result of the Defendants’ breaches and wrongful acts,
 16   Ninespot has suffered damages including but not limited to:
 17                      a.      losing a $2 million investment in the Company from Draper,
 18                              which was to be funded according the same terms as the
 19                              Investment under the SPA;
 20                      b.      foregoing other investments in the Company, consistent with the
 21                              SPA;
 22                      c.      losing unique and valuable strategic partnerships;
 23                      d.      not hiring essential personnel while awaiting promised
 24                              investment capital;
 25                      e.      losing the opportunity to acquire OurCam and enter the Asian
 26                              market;
 27                      f.      missing a critical opportunity to timely launch the Platform; and
 28
                                                                                        COMPLAINT
                                                       - 24 -                 CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 25 of 32 Page ID #:25



  1                      g.   ultimately ceasing operations due to lack of capital at a critical
  2                           stage in the Company’s growth.
  3              120. In fact, the breaches and wrongful acts described herein have rendered
  4   Ninespot essentially worthless.
  5
                                              COUNT ONE
  6
                                      BREACH OF CONTRACT
  7
                                              (Against Puji)
  8
                 121. Plaintiff incorporates by reference the allegations contained in
  9
      paragraphs 1 through 120 of this Complaint as if fully set forth herein.
 10
                 122. By entering into the BCA with Ninespot, Puji promised, among other
 11
      things, to collaborate with Ninespot and to facilitate Ninespot’s adaptation and
 12
      launch of its Platform in China in exchange for certain equity compensation.
 13
                 123. Ninespot performed its obligations under the BCA or was prepared to
 14
      perform them in due course.
 15
                 124. Puji breached the BCA by, among other things, failing to facilitate the
 16
      Investment and/or the launch of the Platform in China, and in fact, actively
 17
      undermining Ninespot’s interests in these regards.
 18
                 125. Ninespot has been harmed by Puji’s breach and has suffered damages
 19
      in an amount to be determined at trial.
 20
                                             COUNT TWO
 21
                                      BREACH OF CONTRACT
 22
                                          (Against Puji Jupai)
 23
                 126. Plaintiff incorporates by reference the allegations contained in
 24
      paragraphs 1 through 125 of this Complaint as if fully set forth herein.
 25
                 127. Pursuant to the SPA, Puji Jupai agreed to purchase, and Ninespot
 26
      agreed to sell, certain shares of Series B Preferred Stock and certain total shares
 27
      with an aggregate purchase price of approximately $18 million.
 28
                                                                                       COMPLAINT
                                                   - 25 -                    CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 26 of 32 Page ID #:26



  1              128. Ninespot was prepared to issue the agreed-upon shares to Puji Jupai as
  2   the prescribed tranches were funded, on the terms set forth in the SPA and the
  3   accompanying Side Letter Agreement, and otherwise performed its obligations
  4   under the SPA.
  5              129. Puji Jupai breached the SPA by failing or refusing to purchase the
  6   shares it agreed to purchase pursuant to the SPA.
  7              130. Ninespot has been harmed by Puji Jupai’s breach and has suffered
  8   damages in an amount to be determined at trial.
  9                                        COUNT THREE
 10                                  BREACH OF CONTRACT
 11                                         (Against Jupai)
 12              131. Plaintiff incorporates by reference the allegations contained in
 13   paragraphs 1 through 130 of this Complaint as if fully set forth herein.
 14              132. Jupai promised Ninespot to fund the Investment into the Company
 15   pursuant to agreed-upon terms, in exchange for certain consideration.
 16              133. The basic terms of the agreement between Jupai and Ninespot were set
 17   forth in detail in a Term Sheet executed by both parties and stamped by Jupai.
 18              134. Ninespot performed, or was prepared to perform in due course, its
 19   agreed-upon obligations to Jupai.
 20              135. Jupai breached its agreement with Ninespot by failing or refusing to
 21   fund its promised Investment into the Company and by failing to negotiate a
 22   definitive agreement with Ninespot in good faith that properly reflected its agreed-
 23   upon obligation to fund the Investment.
 24              136. Ninespot has been harmed by Jupai’s breach and has suffered damages
 25   in an amount to be determined at trial.
 26
 27
 28
                                                                                     COMPLAINT
                                                  - 26 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 27 of 32 Page ID #:27



  1                                         COUNT FOUR
  2                        BREACH OF THE IMPLIED COVENANT OF
                              GOOD FAITH AND FAIR DEALING
  3
                                       (Against All Defendants)
  4
  5              137. Plaintiff incorporates by reference the allegations contained in
  6   paragraphs 1 through 136 of this Complaint as if fully set forth herein.
  7              138. Each of the Defendants entered into separate agreements with
  8   Ninespot, as set forth herein.
  9              139. Under each of those agreements, each of the Defendants owed
 10   Ninespot the duty of good faith and fair dealing implied in the agreements by law.
 11              140. Ninespot performed, or was excused from performing, its obligations
 12   under each such contract.
 13              141. The Defendants breached the covenant of good faith and fair dealing
 14   by, among other things, making statements to Ninespot that were materially false,
 15   and otherwise frustrating Ninespot’s right to receive the benefits of its agreements
 16   with Defendants.
 17              142. Each of the Defendants thus unfairly interfered with Ninespot’s
 18   contractual rights.
 19              143. Ninespot has been harmed by Defendants’ breaches and has suffered
 20   damages in an amount to be determined at trial.
 21
 22                                         COUNT FIVE
 23     INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
 24                                    (Against Puji and Jupai)
 25
                 144. Plaintiff incorporates by reference the allegations contained in
 26
      paragraphs 1 through 143 of this Complaint as if fully set forth herein.
 27
 28
                                                                                     COMPLAINT
                                                  - 27 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 28 of 32 Page ID #:28



  1              145. Both Puji and Jupai were aware of the SPA between Ninespot and Puji
  2   Jupai.
  3              146. Puji’s and Jupai’s conduct, as set forth herein, prevented Puji Jupai
  4   from performing its obligations under the SPA.
  5              147. Puji and Jupai either intended to prevent Puji Jupai’s performance of
  6   its obligations under the SPA or knew that Puji Jupai would likely be unable or
  7   unwilling to perform its obligations as a result of their conduct, as set forth herein.
  8              148. Ninespot has been harmed by Puji’s and Jupai’s intentional
  9   interference with Ninespot’s contract with Puji Jupai and has suffered damages in
 10   an amount to be determined a trial.
 11                                          COUNT SIX
 12                          INTENTIONAL INTERFERENCE WITH
                            PROSPECTIVE ECONOMIC RELATIONS
 13
                                             (Against Puji)
 14
 15              149. Plaintiff incorporates by reference the allegations contained in
 16   paragraphs 1 through 148 of this Complaint as if fully set forth herein.
 17              150. Puji was aware that Ninespot enjoyed a business relationship with
 18   OurCam that likely would have resulted in future economic benefit to Ninespot in
 19   the form of a strategic partnership and/or potential acquisition.
 20              151. By virtue of Puji’s special relationship with Ninespot as described
 21   herein, Puji owed Ninespot a duty of care not to interfere with Ninespot’s
 22   prospective economic relationships.
 23              152. Despite Puji’s duty to Ninespot and knowledge of Ninespot’s
 24   prospective relationship with OurCam, Mr. Hall, acting on behalf of Puji,
 25   wrongfully and unlawfully misrepresented to OurCam that Ninespot was moving
 26   slowly toward the launch of its Platform and no longer had plans to introduce its
 27
 28
                                                                                     COMPLAINT
                                                  - 28 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 29 of 32 Page ID #:29



  1   product in China, and suggested to OurCam that it “give up” on its prospective
  2   business relationship with Ninespot.
  3              153. Puji knew or should have known that such wrongful conduct would
  4   disrupt Ninespot’s business relationship with OurCam, and either intended such
  5   consequence or knew that such consequence was substantially certain to occur.
  6              154. Ninespot has been harmed by its inability to consummate a strategic
  7   partnership and/or acquisition with OurCam, and Puji’s wrongful conduct was a
  8   substantial factor in causing that harm.
  9              155. As a result of Puji’s interference, Ninespot has suffered damages in an
 10   amount to be determined at trial.
 11                                        COUNT SEVEN
 12                               BREACH OF FIDUCIARY DUTY
 13                                          (Against Puji)
 14              156. Plaintiff incorporates by reference the allegations contained in
 15   paragraphs 1 through 155 of this Complaint as if fully set forth herein.
 16              157. By virtue of their relationship under the BCA, Ninespot relied on Puji
 17   for advice and guidance on key business matters and reposed its confidence in
 18   Puji’s integrity and good faith.
 19              158. As a result of such relationship, Puji owed Ninespot a fiduciary duty to
 20   act with the utmost good faith for Ninespot’s benefit.
 21              159. Puji’s wrongful conduct, as described herein, was contrary to
 22   Ninespot’s interests and constituted a breach or breaches of the fiduciary duty that
 23   Puji owed to Ninespot.
 24              160. Ninespot has been harmed as a result of Puji’s breaches and has
 25   suffered damages in an amount to be determined at trial.
 26                                        COUNT EIGHT
 27                          INTENTIONAL MISREPRESENTATION
 28
                                                                                     COMPLAINT
                                                  - 29 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 30 of 32 Page ID #:30



  1                                    (Against All Defendants)
  2              161. Plaintiff incorporates by reference the allegations contained in
  3   paragraphs 1 through 160 of this Complaint as if fully set forth herein.
  4              162. Each of the Defendants made false representations to Ninespot, as
  5   described herein, concerning, among other things, the status of the Investment into
  6   Ninespot and Jupai’s and/or Puji Jupai’s willingness and ability to fund the
  7   Investment.
  8              163. The Defendants knew those representations to be false or made them
  9   recklessly without regard for their truth, with the intent that Ninespot would rely on
 10   them.
 11              164. Ninespot reasonably relied on the Defendants’ representations to its
 12   detriment, and as a result suffered harms including, without limitation, the harms
 13   alleged in paragraph 119 of this Complaint. Defendants’ intentional
 14   misrepresentations were a substantial factor in causing such harms.
 15              165. Ninespot has suffered damages in an amount to be determined at trial.
 16                                         COUNT NINE
 17                            VIOLATION OF THE DELAWARE
                             DECEPTIVE TRADE PRACTICES ACT,
 18                                 6 Del. C. § 2531 et seq.
 19                                    (Against All Defendants)
 20              166. Plaintiff incorporates by reference the allegations contained in
 21   paragraphs 1 through 165 of this Complaint as if fully set forth herein.
 22              167. Puji and Jupai engaged in deceptive trade practices by, among other
 23   things, representing that Jupai and/or Puji Jupai was willing and able to fund the
 24   promised Investment into Ninespot.
 25              168. The Defendants also engaged in deceptive trade practices because their
 26   conduct—including their misrepresentations, denials, and threats in response to
 27
 28
                                                                                     COMPLAINT
                                                  - 30 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 31 of 32 Page ID #:31



  1   Ninespot’s inquiries following their various breaches—created a likelihood of
  2   confusion and misunderstanding about the Investment.
  3              169. Ninespot has been damaged by these willful deceptive trade practices,
  4   and therefore is entitled to relief for its actual losses, treble damages, and attorneys’
  5   fees pursuant to 6 Del. C. §§ 2533(b) & (c).
  6                                      PRAYER FOR RELIEF
  7              WHEREFORE, Plaintiff Ninespot respectfully requests the following relief:
  8              (i)     An award of compensatory damages in an amount to be determined at
  9   trial;
 10              (ii)    Pursuant to 6 Del. C. § 2533(c), three times the amount of the actual
 11   damages proved;
 12              (iii)   An award of costs and attorneys’ fees pursuant to 6 Del. C. § 2533(b);
 13              (iv)    An award of pre-judgment and post-judgment interest; and
 14              (v)     That a judgment be entered in favor of Plaintiff against all Defendants
 15   granting such other further relief as this Court deems just and proper.
 16                                          JURY DEMAND
 17              Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a
 18   trial by jury in the above-captioned action of all issues so triable.
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                                       COMPLAINT
                                                   - 31 -                    CASE NO. 8:17-CV-01719

      4822-5562-5039.7
Case 8:17-cv-01719-JLS-KES Document 1 Filed 10/02/17 Page 32 of 32 Page ID #:32



  1
      Dated:             October 2, 2017       Respectfully submitted,
  2
                                               NIXON PEABODY LLP
  3
  4
  5
                                               Jessica N. Walker
  6                                            (State Bar No. 275398)
                                               jwalker@nixonpeabody.com
  7                                            300 South Grand Avenue, Suite 4100
                                               Los Angeles, CA 90071
  8                                            Tel: (213) 629-6000
                                               Fax: (855) 780-9262
  9
 10                                            Jonathan Sablone
                                               jsablone@nixonpeabody.com
 11                                            Kacey Houston Walker
                                               kwalker@nixonpeabody.com
 12                                            100 Summer Street
                                               Boston, MA 02110-2131
 13                                            Tel: (617) 345-1342
                                               Fax: (866) 947-1729
 14                                            Pro Hac Vice Applications
                                               Forthcoming
 15
                                               Attorneys for Plaintiff Ninespot, Inc.
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                              COMPLAINT
                                           - 32 -                   CASE NO. 8:17-CV-01719

      4822-5562-5039.7
